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Sheet 1

 

UNITED STATES DISTRICT COURT _
Northern District of Florida

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv.
SIDNEY LAMAR McGHEE Case Number: 3:19crl13-004/MCR

USM Number: 26575-017

Lauren Cobb (Appointed—-AFPD)
Defendant’s Attorney

 

ee ee ee

THE DEFENDANT:
x] pleaded guilty to count(s) One of the Indictment on September 25, 2020

 

 

[| pleaded nolo contendere to count(s)
which was accepted by the court.

 

T | was found guilty on count(s)
after a plea of not guilty,

 

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
21 U.S.C. 8§ 841 (a1), (bLYC) Conspiracy to Distribute and Possess with the Intentte 7/13/2019 One
and 846 Distribute Less Than 500 Grams of Cocaine and Less

Than 28 Grams of Cocaine Base

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984, ‘

[| The defendant has been found not guilty on count(s)
[| Count(s) [_] is [_] are dismissed on the motion of the United States. (See Order doc. #64.)

 

 

it is ordered that the defendant must notify the United States attorney for this district within.30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

September 25, 2020

 

Date of Imposition of Judgment

 

 

M., Casey Rodgers, United States District Judge
Name and Title of Judge

Pa
October Af 2020
Date

 

 
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NDPL 245B (Rev. 11/16} Judgment in a Criminal Case ~
Sheet 2 — hmprisonment
Judgment — Page 2 of Too
DEFENDANT: SIDNEY LAMAR McGHEE .
CASE NUMBER: 3:19crl 13-004/MCR
IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:

36 months as te Count One,

X<| ‘The court makes the following recommendations to the Bureau of Prisons:

The Court identifies the defendant as 4 person in need of a focused, intensive substance abuse treatment program,
both during incarceration and on reentry through a residential reentry center.

The Court strongly recommends the defendant’s placement into the BOP’s Residential Drug Abuse Program.
Additionally, while awaiting placement into RDAP, the Court orders the defendant to complete Drug Education
classes and fully participate in the BOP’s nonresidential drug abuse treatment program. Further, the Court strongly
recommends that the defendant participate in any cognitive behavioral therapy programming available.

The Court recommends, with no objection from the Government, that the defendant be designated to serve this
sentence at FPC Pensacola, or at FPPC Montgomery, if FPC Pensacola is unavailable.

DX] The defendant is remanded to the custody of the United States Marshal.

[] The defendant shall surrender to the United States Marshal for this district:

CJ a | am, i” p.m. on

C] as notified by the United States Marshal.

 

[| The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

| before 2 pm.on 7 ["] as notified by the Probation or Pretrial Services Office.

C] as notified by the United States Marshal.

 

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on . ; to . a
at ; _ ____, with a certified copy of this judgment.
UNITED STATES MARSHAL :
By _

 

“DEPUTY UNITED STATES MARSHAL
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'

NDFE 2458 (Rev. 11/16} Judgment in a Criminal Case
Sheet 3 — Supervised Release

Judgment—Page 3 of 7

 

DEFENDANT: SIDNEY LAMAR McGHEE
CASE NUMBER: 3:19cri 13-004/MCR

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:

3 years as to Count One.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.
. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from

imprisonment and at least two periodic drug tests thereafter, as determined by the court.
[| The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (cheek if applicable)
. px] You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5, [| You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, ef seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the iocation where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

6. [| You must participate in an approved program for domestic violence, (check if applicable)

TD ee

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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NDFL 245B (Rey, 18/16) Judgment in a Criminal Case
Sheet 3A — Supervised Release:
Judgment—Page 4 oF
DEFENDANT: SIDNEY LAMAR McGHEE
CASE NUMBER: 3:19er] 13-004/MCR

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you fo report to a different probation office or within a different
time frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer. .

4, You must answer truthfully the questions asked. by your probation officer.

5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change. ,

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer,

9, If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers). ;

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court. .

12. Ifthe probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

AUS. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.goy.

Defendant's Signature Date

 

 

 
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NDEFL 245B (Rev. 11/16} Judgment in a Criminal Case

Sheet 3D — Supervised Release

 

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DEFENDANT: SIDNEY LAMAR McGHEE
CASE NUMBER: 3:19cr1 13-004/MCR

1,

SPECIAL CONDITIONS OF SUPERVISION

You will be evaluated for substance abuse and referred to treatment as determined necessary through an
evaluation process. Treatment is not limited to, but may include, participation in a Cognitive Behavior
Therapy program.

You will submit your person, property, house, or vehicle to a search conducted by a United States
probation officer. Any search must be conducted at a reasonable time and in a reasonable manner,
Failure to submit to a search may be grounds for revocation of release. You must warn any other
occupants that the premises may be subject to searches pursuant to this condition. An officer may
conduct a seatch pursuant to this condition only when reasonable suspicion exists that the defendant
has violated a condition of his supervision and that the areas to be searched contain evidence of this
violation.
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NDPL 245B (Rev. 11/16} Judgment ina Criminal Case
Sheet 5 — Criminal Monetary Penalties

Judgment — Page 6 of 7
DEFENDANT: SIDNEY LAMAR McGHEE
CASE NUMBER: 3:19er] 13-004/MCR

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment JVTA Assessment* Fine Restitution
TOTALS $ 100.00 $ O-—none $ 0—waived $ 0 - none
[|] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.
[| The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in

the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(), all nonfederal victims must tbe paid
before the United States is paid.

Name of Payee Total Loss** Restitution Ordered Priority or Percentage
TOTALS Bo Boo

[ ] Restitution amount ordered pursuant to plea agreement $

[| The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

L] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
{| the interest requirement is waived for the [| fine [|_| restitution.

[_] the interest requirement for the [| fine [| restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub, L, No, 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or

after September 13, 1994, but before April 23, 1996.
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NDFL 245B (Rev, 1/16) Judgment in a Criminal Case |
Sheet 6 — Schedule of Payments .

 

Judgment -— Page 7 of To.

 

DEFENDANT: SIDNEY LAMAR McGHEE
CASE NUMBER: 3:19cr1 13-004/MCR

SCHEDULE OF PAYMENTS

 

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A Lump sum payment of $ — 100.00 . due immediately, balance due

[~] not later than

[| in accordance with ft C. Th dD, Po Td B or ["] F below; or

 

B [| Payment to begin immediately (may be combined with [ | Cc, [| D, or [ } F below); or

Cc [| Payment in equal e.g. weekly, monthly, quarterly) installments of $ over a period of
(eg. months or yeal ‘s), to commence __ e.g., 30 or 60 days) after the date of this judgment; or

D [| Payment in equal gs weekly, monthly, quarterly} installments of $ over a period of
fe.g., months or year ‘s), to commence _ fe.g., 30.0r 60 days) after release from imprisonment to a

term of supervision; or

 

E [| Payment during the term of supervised release will commence within —__ fe.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F | Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court,

The defendant shail receive credit for all payments previously made toward any criminal monetary penalties imposed.

[| Joint and Severai

Defendant and Co-Defendant Names and Case Numbers (ncluding defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

[| The defendant shall pay the cost of prosecution.
{| The defendant shall pay the following court cost(s):

[| The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
